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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                  4:06CR3023-3
                                            )
              V.                            )
                                            )                MEMORANDUM
SHAWN TULL,                                 )                 AND ORDER
                                            )
                     Defendants.            )
                                            )


      Mr. Tull has filed a 2255 motion. (Filing 195.) The record also reflects that he has
sought a writ of certiorari in the United States Supreme Court. (Filing 194.) Therefore,

       IT IS ORDERED that the 2255 motion will not be considered until the petition for
certiorari is resolved by the United States Supreme Court. My chambers shall call this matter
to my attention at that time.

       DATED this 31st day of March, 2010.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          United States District Judge
